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                          THE UNITED STATES DISTRICT COURT
13                              DISTRICT OF ARIZONA
14                                PHOENIX DIVISION

15
16    Apache Stronghold,                          CIVIL NO. 2:21-cv-00050-SPL

17                Plaintiff,                      JOINT STATUS REPORT
18    v.

19    United States of America, et al.,
20
                  Defendants.
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      Case 2:21-cv-00050-SPL Document 120 Filed 09/15/23 Page 2 of 3




 1          Pursuant to this Court’s Order (ECF No. 81), Plaintiff and Federal Defendants
 2   provide this Joint Status Report. As the Court is aware, the Forest Service has rescinded
 3   the challenged Final Environmental Impact Statement (FEIS) and Draft Record of
 4   Decision (DROD) and the Land Exchange for the Resolution Copper Project will not go
 5   forward until the FEIS is re-published. Federal Defendants rescinded the FEIS and
 6   DROD “in order to reinitiate consultation with Tribes and ensure impacts have been fully
 7   analyzed.” ECF No. 80 at 2-3 (citing San Carlos Apache Tribe v. United States Forest
 8   Serv., No. 21-68, ECF No. 36 at 1, 3; Arizona Mining Reform Coalition v. United States
 9   Forest Serv., No. 21-122, ECF No. 26 at 2-3.). Meanwhile, the Ninth Circuit Court of
10   Appeals has not yet issued its decision after rehearing Plaintiff’s appeal en banc on
11   March 21, 2023.
12          Since the last Joint Status Report was filed, the Department reports that it is
13   continuing to be engaged in its review of the consultation record, and environmental and
14   other associated documents, to ensure compliance with applicable laws, regulations, and
15   policies. Additionally, the Forest Service continues to meet with Tribes and offer
16   additional opportunities for formal consultation regarding implementation of the
17   Southeast Arizona Land Exchange and Conservation Act (SALECA). The consultation
18   that had been previously scheduled for September 13, 2023 with the San Carlos Apache
19   Tribe has been rescheduled to allow the parties to work together on developing an agreed
20   framework for the upcoming consultation. The Forest Service is continuing to engage
21   with the San Carlos Apache Tribe to develop the framework and reschedule the
22   consultation. The Department has not yet identified a timeframe for completing this
23   broad review and additional steps required by the SALECA.
24          The Parties will provide another Joint Status Report in 30 days.
25          Submitted this 15th day of September, 2023,
26                                              TODD KIM
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